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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG * MDL NO. 2179

“DEEPWATER HORIZON?” IN THE

GULF OF MEXICO, ON APRIL 20, 2010 * SECTION J

THIS DOCUMENT RELATES TO: * JUDGE CARL J. BARBIER

ALL CASES IN PLEADING BUNDLE * | MAG JUDGE SALLY SHUSHAN
SECTION I.B(3)

* * * * & * * *

MEMORANDUM ON BEHALF OF INTERNATIONAL AIR RESPONSE, INC.
IN SUPPORT OF MOTION TO DISMISS CLAIMS AGAINST IT
. CONTAINED IN THE B3 BUNDLE MASTER COMPLAINT

Intemational Air Response, Inc. (“IAR”) respectfully submits the following
Memorandum in Support of its Motion to Dismiss the claims asserted against it in the Master
Complaint in Accordance with PTO No. 11 Section IIIB.(3) (Doc. 881) (hereinafter, the “B3
Bundle Master Complaint” or “B-3 Bundle”) pursuant to Rule 12(b)(6) of the Federal Rules of
Civil Procedure. In addition, [AR asserts Rule 12(b)(1) and 12(b)(2) defenses as well.

Introduction

The Deepwater Horizon drilling ship exploded in the Gulf of Mexico on April 20, 2010,
causing, pursuant to the National Contingency Plan required by the Oil Pollution Act of 1990
(“OPA”).

A National Contingency Plan was required by Congress in 33 U.S.C. § 1321(d)(2) which
includes the “dispersal” of oil discharges. The President, pursuant to the Congressional
directive of § 1321(d)(1), issued Executive Order No. 12777 on October 18, 1991 (found at 33
U.S.C. § 1321 at p. 413) which (at § 1(a)(3)) amended October 18, 1991 (pocket part p. 68)

placed the representative of the U.S. Environmental Protective agency and the representative of
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the Coast Guard as Vice Chairman of the National Contingency Plan Committee. The Coast
Guard was designated as Chairman for the Response Action for a coasta! oil spill. (§ 1(a)(3)).

The Deepwater Horizon oil spill was quickly designated by the Coast Guard as the first
“Spill of National Significance” under OPA and the Clean Water Act, 33 U.S.C. § 1321.. The
President described it as “the worst environmental disaster America has ever faced.”’ IAR,
however, did not cause the initial explosion or the resulting oil spill. According to the
allegations, IAR first came in the scene as a subcontractor for one of BP’s Oil Spill Removal
Organizations (“OSRO”), who were integral parts of the National Contingency Plan. IAR, as
plaintiff's allege, only acted to apply Corexit® as directed by BP and the Government. What it
did was exactly what the OPA and CWA intended to occur.

No one alleges [AR played any role in causing the blowout, the fire, the sinking of the
rig, or in any way caused a drop of some 200 million gallons of oil to spill as plaintiffs allege
occurred as a result of the blowout. Nor is it alleged that IAR was involved with any efforts to
cap the well. Rather, IAR was called in to follow directions to execute decisions to use
dispersants as part of the contingency response to the oil spill, all pursuant to a federally
mandated and approved Area Contingency Plan being overseen by the On-Scene Coordinator —
the U.S. Coast Guard, all as part of the plan crafted not by JAR, but by BP and its partners. After
the explosion, this plan was overseen by the Federal On-Site Coordinator as provided for by
Congressional Act.

Now, IAR, tn its role as one of the mere “hired help,” is being sued in the B3 Bundle

Master Complaint for alleged damages due to the presence of Corexit® in the water and related

' President Barack Obama, “Remarks by the President to the Nation on the BP Oil Spill” (June 15, 2010), available
at http:/Avww. whitehouse.gov/the-press-office/remarks-president-nation-bp-oil-spill. Much of this fact outline and
description of the comprehensive federal scheme as to the response purposefully follow the arguments on derivative
immunity and federal preemption made by O’Brien’s Response Management and MSRC,, for which credit is duly
given.

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alleged general exposures to the Corexit® dispersants used on the oil spill that were approved for
this use by the EPA, and desired for this use by the Coast Guard, and which were chosen by and
supplied through BP, with full knowledge of their properties, and without seeking or receiving
any advice or recommendations from IAR as to using them. Instead, [AR was directed where to
apply the Corexit®, and acted solely as a means of mechanically applying the desired substances
to reported oil slicks that were fouling the Gulf, all as a directed but small part of the complex
response, mitigation and clean-up effort that was orchestrated by the federal government and BP
after the spill. See B3 Bundle Master Complaint {J 59 (alleging that IAR “participated in the
post-explosion Oil Spill remediation and response efforts”), with one plane.

Because the actions of IAR alleged in the B3 Bundle Master Complaint were authorized,
directed, and ultimately controlled by the federal government pursuant to the Clean Water Act
(“CWA”) and the National Contingency Plan (“NCP”) that Congress directed to be in place for
just such events not of the contract responders’ making, and which specifically included
“dispersal” of spilled oil, IAR has derivative federal immunity for the activities alleged in the
Master Complaint. In addition, conflict preemption protects [AR from liability as well. In short
the CWA provides absolute immunity to the federal government in connection with oil spill
response efforts and, in order to protect and enable the government’s discretionary authority over
this area of significant federal interest, IAR must share in such immunity for the benefit to the
federal government sought by Congress to be effective. Consequently, the B3 Bundle Master
Complaint should be dismissed in its entirety as against IAR. The claims against IAR in the B3
Bundle Master Complaint should also be dismissed for the separate or alternative reason that all
of the claims asserted are preempted pursuant to the doctrine of implied conflict preemption in

light of the CWA, OPA and the NCP.
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Alternatively, and only if the claims against IAR are not dismissed in their entirety on
derivative federal immunity and/or preemption grounds, several of the claims nevertheless fail as
a matter of law for the additional and independent reasons discussed below.

I. Federal Authority and Control Over the Oil Spill Response”

The CWA, as amended by the Oil Pollution Act of 1990 (“OPA”) following the Exxon
Valdez spill, reflects the intent of Congress to ensure preparation for and thus a rapid response to
oil spills, and, given the national interests involved, to have preapproved response modalities and
to vest strong oversight and decision-making authority in the federal government over any large
spills. To that end, the CWA mandates that “(t]he President [of the United States] shail prepare
and publish a National Contingency Plan for removal of oil and hazardous substances,” and that
the NCP “shall include ... [a] schedule ... identifying dispersants, other chemicals, and other
spill mitigating devices and substances, if any, that may be used in carrying out the Pjan.” 33
U.S.C. § 1321(d)(1)-(2); see also B3 Bundle Master Complaint § 109 (“[TJhe United States Oil
Spill National Contingency Plan permits spraying of chemical dispersants at least 3 miles
offshore or where the water is at least 10 meters deep.”). Moreover, the CWA requires the pre-
designation of a federal official for each of various geographical regions “who shall be the
Federal On-Scene Coordinator” for that region in the event of a spill, to avoid the delay that
would be associated with selecting an individual to fill this post after a spill occurs. 33 U.S.C. §

1321(d)(2)(K).

? This factual summary is based on federal statutes, federal regulations, and three public documents produced by the
National Commission on the BP Deepwater Horizon Oil Spill and Offshore Drilling (its Final Report and two Staff
Working Papers). In ruling on this motion to dismiss, the Court can consider “matters of which [it] may take
judicial notice.” Lovelace v. Software Spectrum, 78 F.3d 1015, 1018 (5" Cir. 1996). Accordingly, because “the
Court is authorized to take judicial notice of the official government publications,” it may properly consider the
three public documents produced by the Commission. See Canales Martinez v. Dow Chem. Co., 219 F.Supp 2d
719, 734 n.24 (E.D. La. 2002). As referenced below, those three documents are available on the internet and are
also attached to QO’ Brien’s motion as exhibits, which IAR, for space saving purposes, adopts and incorporates herein
by reference.
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In the event of a spill, the CWA provides that “[t]he President sha/?, in accordance with
the National Contingency Plan and any appropriate Area Contingency Plan, ensure effective and
immediate removal of a discharge ... of oil ... into or on the navigable waters.” 33 U.S.C. §
1321(c)(1)(A) (emphasis added). Pursuant to the NCP, if an oil spill “poses or may present a
substantial threat to public health or welfare of the United States,” the Federal On-Scene
Coordinator “shall direct all federal, state, or private actions to remove the discharge.” 40
C.F.R. § 300.322(b) (emphasis added); see also 40 C.F.R. § 300.120; 40 C.F.R. § 300.135.
Finally, an oil spill may be designated a “Spill of National Significance” if, “due to its severity,
size, location, actual or potential impact on the public health and welfare or the enfironment, or
the necessary response effort,” the spill is “so complex that it requires extraordinary coordination
of federal, state, local and responsible party resources to contain and clean up.” 40 C.F.R. §
300.5. In the event a spill is designated a Spiil of National Significance, the United States Coast
Guard may appoint a “National Incident Commander’ to “assume the role” of the Federal On-
Scene Coordinator in “communicating with affected parties and the public, and coordinating
federal, state, local, and international resources at the national level.” 40 C.F.R. § 300.323(c).
This is exactly what occurred after the Deepwater Horizon explosion and fire.

Following the explosion on the Deepwater Horizon, this comprehensive federal response
structure was immediately put into action. Captain Joseph Scott Paradis, the Commander of the
Coast Guard’s Marine Safety Unit at Morgan City, Louisiana, “became the first Federal On-
Scene Coordinator” under the NCP as helicopters from his sector “searched for missing crew

members ... as the Deepwater Horizon burned.”? More and more Coast Guard personnel and

3 See NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE
DRILLING, Report to the President: Deep Water — The Gulf Oil Disaster and the Future of Offshore Drilling, at
130 (Jan 2011), available at http:/Mvww.oilspillcommission.gov/. Relevant excerpts from the Commission’s Final
Report are attached as Exh. A to O’Brien’s memorandum.
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resources became involved, and on April 21, Rear Admiral Mary Landry took over as Federal
On-Scene Coordinator.“ As is described in the National Commission’s report, the
organizational structure mandated by federal law was described thusly:
At 10:22 a.m. on April 22, the rig sank, taking with it the diesel fuel still on board.
By that time, the Coast Guard had established an Incident Command Post in a BP
facility in Houma, Louisiana. BP had formed a command post in tts corporate
headquarters in Houston, Texas shortly after the explosion, and the Coast Guard
established an Incident Command Post there as well. These Incident Command
Posts, along with one in Mobile, Alabama, and others established later, would
become the centers of response operations, with their activities directed by the
Federal On-Scene Coordinator as part of the government’s Unified Command.°
On April 29, 2010, the Coast Guard designated the Deepwater Horizon spill a Spill of National
Significance, the first oi] spill to ever be so designated. On May 1, 2010, Secretary of
Homeland Security Janet Napolitano “announced that Admiral Thad Allen, the outgoing
Commandant of the Coast Guard and then its only four-star Admiral, would serve as National
Incident Commander.”
“During the Deepwater Horizon spili response, the National Incident Commander
coordinated interagency efforts on the wide variety of issues responders faced, and dealt with
high-level political and media inquiries, while the Federal On-Scene Coordinator generally

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retained oversight of day-to-day operations.”” Indeed, “[a]!though the unified command system

is designed to bring together different stakeholders to make decisions, one individual needs to

‘fd. “On June 1, Admiral Landry retumed to her Eighth District duties to prepare for hurricane season, and Admiral
James Watson became [the Federal On-Scene Coordinator]. He later transferred the position to Admiral Paul
Zukunft.” NATIONAL COMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE
DRILLING, Staff Working Paper No. 2: Decision-Making Within the Unified Command, at 4 n.19 (Jan. 11, 2011),
available at http://www .oilspillcommission.gov/sites/default/files/documents/Updated™%20Unified?20Command%2
OWorking%20Paper.pdf, and attached as Exh. B to O’Brien’s brief.

5 NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE DRILLING,
Report to the President: Deep Water — The Gulf Oil Disaster and the Future of Offshore Drilling, supra note 4, at
131.

* See Ad. at 136.

” Id.

8 td.

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have ultimate decision-making power in the event of a conflict,” and “that individual is the
Federal On-Scene Coordinator.” For example, ‘“[a]t the direction of the Federal On-Scene
Coordinator, responders first sprayed dispersants on the surface oil slick on Apri] 22” and,
“Cw]ith the permission of the Federal On-Scene Coordinator, BP and its contractors applied
14,654 gallons of the dispersant Corexit® on the surface during the week of Apmil 20 to 26."
Dispersant use increased as the response continued, but “[a]fter the well was capped on July 15,

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2010, there was virtually no further use of dispersants. Ultimately, ‘“‘a total of 1.84 million

gallons” of dispersant were applied, “of which 1.07 million gallons were applied on the surface
and 771,000 gallons were [applied] subsea.”

“The effect of pre-approval” of dispersants in the NCP “is to eliminate the need for
approvals and consultations during the response and to allow the Federal On-Scene Coordinator
to act unilaterally.”!° Indeed, in an August 1, 2010 press conference, “Admiral Allen noted that
the decision to use the dispersants did not rest with BP [or, its contractors or subcontractors for
that matter]. Rather, he said, ‘it’s a decision by the Federal on-scene coordinator’ through a
‘very disciplined doctrinal process.’”*

As is outlined in great detail in Nalco’s 12(b)(6} submission, the Coast Guard expressly

asked Nalco to manufacture and supply Corexit® for use in large oil spills. (Letter, Admiral

* NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE DRILLING,
Staff Working Paper No. 2: Decision-Making Within the Unified Command, supra note 5, at 4.

“NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON IL SPILL AND OFFSHORE DRILLING,
Report to the President: Deep Water — The Gulf Oil Disaster and the Future of Offshore Drilling, supra note 4, at
143-44. Aithough EPA Administrator Lisa Jackson “ultimately gave EPA’s approval for subsea dispersant use,”
TAR was not involved in the subsea application of dispersants. fd. at 145.

'' NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE
DRILLING, Staff Working Paper Ne. 4: The Use of Surface and Subsea Dispersants During the BP Deepwater
Horizon Oil Spill, at 12 Gan. 11, 2011), available at http://www.oilspillcommission.gov/sites/default/files/document
s/Updated%20D ispersants%20Working%20Paper. pdf, and attached as Exh. C to the O’Brien brief, which is
incorporated herein by reference for that purpose.

"2 Id. For purposes of this brief, all references to Corexit® use ‘the term as a recognized registered trademark of
Nalco, and in the two versions identified by plaintiffs.

'3 id. at 5.

4 fd. at 12.
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Paul Zukunft, 7/12/10). The product was pre-approved by the USEPA for the exact sue
complained of in the Master Complaint, as of “invaluable benefit to our country.” Jd.

As Nalco further points out, Corexit® was part of all the Gulf States’ Area Contingency
Plans (“ACP”), consistent with EPA’s prelisting of use of Corexit® as an approved response
modality as part of the National Contingency Plan authorizations made by the President under 33
U.S.C. § 1321(c)(1). The use of Corexit® for the Deepwater Horizon oil spill response was
decided and approved as an integral part of the National Contingency Plan and the Area
Contingency Plans, all wholly without any involvement by IAR.

The public record cited by Nalco shows that Corexit® 9527 was listed long before this
oil spill as a National Contingency Plan Product and in the ACP’s of Louisiana, Florida,
Alabama, Mississippi and Texas. It is for this reason, and the approval of the On-Scene
Coordinator that these dispersants were available for immediate use.

The Department of Homeland Security officially designated the spill as a Spill of
National Significance by April 29, 2010, about a week after the blowout. Use of dispersants was
a critical part of the anticipated, desired and approved response, a decision that cannot by this
lawsuit be overturned or questioned.

The B-3 Master Complaint does not suggest that JAR had anything to do with crafting,
overseeing or having any input into the Response Plan, and in particular, as to the decisions and
approvals to apply dispersants by air, surface application and by sub-sea application at the well
site. For this reason, the complaint does not state a claim against [AR for any alleged damage or

injury resulting from Corexit® being present in the water or on the oil.

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II. Role of IAR In the Deepwater Horizon Response

IAR’s alleged aerial application to floating crude oil was performed solely within the
context of acting, as hired help, to execute, with one plane, a small part of the response that was
authorized, directed, and ultimately controlled by the federal government, as part of the response
to the oi! spill of others’ making, as mandated by the Clean Water Act and OPA. See B3 Bundle
Master Complaint 4 92 (“The U.S. Coast Guard is responsible for ... responding to oil spills and
supervising and/or coordinating response actions.”); id. 4 109 (“The Coast Guard’s Federal On-
Scene Coordinator ... must approve BP’s requests to use chemical dispersants.”).

The Government and BP necessarily relied on contractors to actually execute the physical
tasks that the Contingency Plan anticipated would be needed. None of these “hired hands” like
TAR, were responsible for a drop of spilled oil. They were hired to help accomplish what BP and
the Government directed — nothing more. Use of dispersants was anticipated by Congress to be
necessary in order to effectuate the National Contingency Plan and respond to large spills as a
means to reduce the ultimate damage to the environment, the Congressional end result under the
CWA.

Ill. The Claims At Issue

In Pretrial Order No. 11 (Case Management Order No. 1) (Rec. Doc. 569), the Court
established cight separate “pleading bundles” for different categories of cases and claims in this
multidistrict litigation. The B3 pleading bundle was initially designated the ‘“Post-Explosion
Clean-Up Claims” bundle in Pretrial Order No. 11, but was subsequently renamed the “Clean-
Up, Medical monitoring, and Post-April 20 Personal Injury Claims” bundle and revised to

include “all claims, of any type, relating to post-explosion clean-up efforts asserted against

Defendants not named in the B] Master Complaint, as well as all claims for personal injury

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and/or medical monitoring for exposure or other injury occurring after the explosion and fire of
April 20, 2010.” Pretrial Order No. 25 (Rec. Doc. 983).!°

Specifically, the B3 Bundle Master Complaint asserts the following claims against IAR:

* Negligence (Third Claim for Relief - [{ 219-28)

. Gross Negligence (Fourth Claim for Relief - {j 229-36)

. Negligence Per Se (Fifth Claim for Relief - {[ 237-42)

* Nuisance (Seventh Claim for Relief - §J 259-71)

. Battery (Eighth Claim for Relief - §{] 272-77)

° “Florida Plaintiffs’” Medical Monitoring Claim (Ninth Claim for Relief - ff] 278-
88)
. Strict Liability Pursuant To The Florida Pollutant Discharge Prevention And

Control Act Fla. Stat. § 376.011, et seg (Eleventh Claim for Relief - {§ 307-20)

The five categories of plaintiffs identified in the B3 Bundle Master Complaint include (a)
boat captains and crew involved in the Vessels of Opportunity program (“VoO”), (b) workers
involved in decontaminating vessels that came into contact with oil and/or chemical dispersants,
(c) vessel captains and crew who were not involved in the Vessels of Opportunity program but
who were exposed to harmful chemicals, odors and emissions during post-explosion clean-up
activities, (d) clean-up workers and beach personnel who were involved in clean-up activities
along shorelines and intercoastal zones, and (e) residents who live and work in close proximity to

coastal waters. See B3 Bundle Master Complaint 21.

'’ The BI pleading bundle includes non-governmental economic loss and property damage claims. Paragraph 18 of
Pretrial Order No. 25 also deleted the second sentence of paragraph 18 of the B3 Bundle Master Complaint such that
no causes of action from the B1 Bundle Master Complaint are incorporated into the B3 Bundle Master Complaint.
Neither O’Brien’s nor NRC are named as defendants in the B1 Bundle Master Complaint.

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12(b)(6) The Pleading Standard

In recent years, the United States Supreme Court has clarified and tightened the minimum
pleading standards for a complaint to survive a motion to dismiss. See, e.g., Bell Atl. Corp. v.
Twombly, 50 U.S. 544 (2007); Ashcroft v. Iqbal, 129 S.Ct. 1937 (2009). To avoid dismissal
under Rule 12(b)(6), a complaint’s “[fJactual allegations must be enough to raise a right to relief
above the speculative level,” and must be, at a minimum, “plausible” in the circumstances
presented. Twombly, 550 U.S. at 555, 570. “A claim is facially plausible when the plaintiff
pleads facts that allow the court to ‘draw the reasonable inference that the defendant is liable for
the misconduct alleged.”” Who Dat Yat LLC v. Who Dat? Inc., Nos. 10-1333 & 10-2296, 2011
WL 39043, at *5 (E.D. La. Jan 4, 2011) (quoting /gbal, 129 S.Ct. at 1949); see also In Re
Southern Scrap Material Co., LLC, 541 F.3d 584, 587 (5" Cir. 2008) (explaining that a

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complaint must state “enough fact[s] to raise a reasonable expectation that discovery will reveal
evidence of the necessary claims or elements”) (quoting Twombly, 550 U.S. at 556).

A complaint must contain either direct or inferential allegations with respect to all of the
material elements of each claim, particularly as to heightened liability thresholds. Mere “labels
and conclusions” or a “formulaic recitation of the elements of a cause of action will not do.”
Iqbal, 129 S.Ct. at 1949. “(When the allegations in a complaint, however true, could not raise a
claim of entitlement to relief, this basic deficiency should ... be exposed at the point of minimum

expenditure of time and money by the parties and the court.” Twombly, 550 U.S. at 558 (internal

quotation omitted).

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Argument — Rule 12 Motions

IL Failure of Article HI Case and Controversy

IAR first objects under Rule 12(b)(1) and 12(b)(6) to the absence of an Article III “case
of controversy.” There must be specific plaintiffs who make specific, fact-based claims that they
specifically suffered an injury at a specific place and time, due to the acts of IAR. There is no
“group liability allowed.” See, eg, Judge Vance’s opinion in Barasich v. Columbia Gas
Transmission Co., 467 F.Supp.2d 676 (E.D. La. 2006), on which Judge Duval relied in rejecting
group liability in the Dredging Limitation Action, No. 06-8676, Doc. No. 193, opinion and
reasons 6/12/08 at p. 16, affirmed sub non Great Lake Dredge and Dock Co. v. Louisiana, 624
F.3d 201, 214-15 (2008), IAR respectfully objects to the Plaintiffs’ Steering Committee having
filed a “master complaint” on behalf of nameless plaintiffs who have yet to be identified. FRCP
Rule 18(a) requires every claim to be prosecuted in the name of the real party in interst. Along
with several other defendants, the B3 Bundle Master Complaint refers to IAR as an otherwise
undifferentiated “Dispersant Defendant,” which is insufficient under Article II] given the
circumstances presented and the claim being made.

The specific claims and allegations are separately discussed below, where they are made
the subject of 12(b)(6) challenges. Being beyond the scope of this Rule 12 motion, [AR notes
the patent inappropriateness of the class action status sought herein, but reserves its challenge to

any class certification for another day.'$

'S Although the claims asserted in the B3 Bundle Master Complaint are patently inappropriate for class treatment,
and present fatal flaws as pleaded in light of the stay on Rule 23 motion practice on class certification issues
imposed by Paragraph VIII of Pretrial Order No. 11, IAR does not address such issues here, but rather specifically
preserves all objections to the requests for certification of class actions contained in the B3 Bundle Master
Complaint. See B3 Bundle Master Complaint | 176-93.

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I. Rule 12(b)(2) Defense of Lack of Personal Jurisdiction

IAR is a company organized tn and located near Phoenix, Arizona. The Bundle B-3
Master Complaint purports to describe generally the claims, but does not contain or describe the
claims of any particular persons, or outline any facts on which a particular claim is founded, so
the identity and circumstances of any particular plaintiff's situation, much less that of al? of the
plaintiffs, are, for the purposes of this motion, unknown to IAR. Because the Master Complaint
fails to allege and establish the personal jurisdictional facts as to any claimant, or allow JAR to
assess them, and particularly any land-side claimants, IAR pleads and preserves herein its
defense that as to each and all of the particular plaintiffs, it had not “(1)} purposefully availed
itself of the benefits and protections of the forum state by establishing ‘minimum contacts’ with
that state; and (2) that the exercise of personal jurisdiction would offend traditional notions of
fair play and substantial justice.”” See, e.g., Mink v. AAA Development, L.L.C., 190 F.3d 333,
336 (5" Cir. 1999); Choice Healthcare Inc. v. Touro Infirmary, 615 F.3d 364, 368 (5" Cir.
2010). IAR may not be haled into court here as to claims filed or to be filed in other states’
courts as a result of random fortuitous events, or unilateral actions of third parties. Burger King
Corp. v. Rudzewicz, 471-U.S. 462, 475 (1985).

IAR, without first being provided the specifics of each claimant’s case, cannot possibly
respond further at this time, when the February 28, 2011 deadline to file Rule 12 motion expires.
The resolution of the issue must be accomplished on a case to case basis for each claim. As
such, IAR asserts and preserves its rights of due process against the improper extension of
personal jurisdiction against it until each and every claimant’s claim is specifically pleaded and

disclosed.

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HII. LAR Has Derivative Federal Immunity For All Claims Against It In the B3 Bundle

Master Complaint
A. 12(b)(1)

Plaintiffs’ claims against JAR must be dismissed under the derivative federal immunity.
IAR was a mere contractor who acted to mechanically apply dispersants in execution of parts of
the National Response program approved by Congress as a critical part of OPA and CWA. This
Court has no jurisdiction to challenge Congress’ decision to set up the Response Program, with
the Coast Guard as On-Scene Coordinator by holding those who executed it liable for use of
dispersants that the Congressionally-appointed decision makers decided to use. Cf, Firemen’s
Fund Ins. Co. v. City of Lodi, 302 F.3d 928, 951 (9" Cir. 2002) (imposing additional expense
dissuades the future participation and thus impairs the program). In the position it occupies as
pleaded by plaintiffs, for [AR to be liable, the Court would inherently be contradicting and
undermining the Congressionally-mandated National Response to this oil spill of National
importance, by allowing IAR, a contractor, to be held liable for claims based simply upon the
contractor performing its assigned function to support or execute a Response that it did not
design or direct. This would directly undermine Congress’s scheme to have effective response
capabilities. In addition, it would contradict Congressional policy that the response be carried
out as the On-Scene Coordinator desired, which is impossible if the contractors hired to simply
apply the dispersants are to face causes of action for having applied the approved and selected
dispersant.

1. Standard of Review on Rule 12(b)(1)

Plaintiffs bear the burden of proof to convince the Court that jurisdiction extends to the

specific claims made. Ramming v. United States, 281 F.3d 158, 161 5" Cir. 2001). When

deciding a Rule 12(b)(1) motion, a court may rely upon the complaint, undisputed facts in the

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record, and disputed facts resolved by the Court. Williamson v. Tucker, 645 F.2d 404, 412 (s*
Cir. 1981); Fernandez-Montes v. Allied Pilots Ass’n, 987 F.2d 278, 284 (5" Cir. 1993). The
Court is free to weigh the evidence in order to satisfy itself that it has power to hear the claim.
No presumption of truthfulness attaches to plaintiffs’ allegations, and the existence of disputed
facts will not preclude the tral court from evaluating the merits of the junsdictional claims. /d,
645 F.2d at 412-13.

The Court lacks jurisdiction to entertain plaintiffs’ claims against IAR and similar
contractors whose sole role was to follow the directions emanating from those who Congress
empowered to control, design and oversee the National Response to this Oil Spill of National
Importance. This is because their role was exactly what Congress required, so to hold them
liable for doing what Congress desired is nothing less than attack on Congress’ will as was
expressed in a statute that has not been attached as or found to be unconstitutional. The National
Contingency Plan, and the Area Response Plan thereunder specifically included the use of
dispersants in order to lessen the environmental impact of the oil on the coast. Their use was
Congress’ will, and in executing or carrying out that will, [AR cannot be held liable herein as a
matter of law..

2. Argument on 12(b)(1)

In Yearsley v. W_A. Ross Construction Co., 309 U.S. 18, 20-21 (1940), the Supreme
Court found that where “the authority to carry out the project was validly confined, that is, if
what was done was within the Constitutional power of Congress, there is no liability on the part
of the contractor for executing its will. See also, Ackerman v. Bean Dredging, LLC, 589 F.3d

196 (5" Cir. 2009).

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Plaintiffs admit in {] 92 that “the U.S. Coast Guard is responsible for implementing many
aspects of OPA, including ... responding to oil spills and supervising/coordinating response
actions.”

As plaintiffs have pleaded the case, [AR operated as a small, one-aircraft contractor for
MSRC who in tum operated on behalf of BP. We know from public records the role of the Coast
Guard as the On-Scene Coordinator. See pp. 5-8 above. As for BP, plaintiffs allege at | 220 (p.
50 of Doc. 881) that

“BP has taken control of all aspects of the recovery and relief effort to attempt to

contain the Oil Spill, prevent damaging the Gulf of Mexico and the shoreline, and

to clean up the damage caused to date. BP owed a duty to plaintiffs, as well as to

all persons who might foreseeably be harmed, to exercise due care in the

operation, maintenance, handling, design, implementation and execution of the

relief and recovery measures.”

The Clean Water Act “(CWA”) provides absolute immunity to the federal government in
connection with oil spill response efforts. See 33 U.S.C. § 13219)(8) (The United States
Government is not liable for any damages arising from its actions or omissions relating to any
response plan required by this section.”

The scope of OPA and CWA is patent as is the Congressional objective and policies
behind the emergency response objectives. The Government oversight here of the response is
uncontested. The role of IAR as a mere one-aircraft application contractor is expressly pleaded.
That BP and the government directed the response is expressly pleaded, as is the absence of any
involvement by IAR as a designer of the response or having any involvement in the release of
the oil into the sea or coordinating the response efforts is patent on the face of the complaint.

Ali claims against JAR should be dismissed pursuant to Rule !2(b)(1) as being outside

the Court’s subject matter jurisdiction based on Yearsley.

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B. Rule 12(b)(6) Alternative Grounds for Yearsley-Based Dismissal

The allegations contained in the B3 Bundle Master Complaint are insufficient as a matter
of law to sustain any of the seven causes of action alleged against IAR. Because all of IAR’s
activities challenged by the B3 Bundle Master Complaint were authorized, directed and
ultimately controlled by the federat On-Scene Coordinator and/or the National Incident
Commander (including any use of dispersants), IAR has derivative federal immunity for such
activities and all causes of action against [AR should be dismissed on the basis of 12(b)(6). £-g.,
Yearsley. Similarly, for the same reason, the claims against IAR in the B3 Bundle Master
Complaint are preempted pursuant to the doctrine of implied conflict preemption. Alternatively,
and only if the claims against IAR are not dismissed in their entirety on derivative immunity
and/or preemption grounds, those claims nevertheless fail to state a claim for which relief can be
granted as a matter of law on additional! grounds.

1. Derivative Immunity

For the same reasons set forth above, IAR is entitled to dismissal of the claims against it
arising out of or based upon its participation in executing the part of the Response Plan which
involved the use (application) of dispersants, including Corexit®.

The Fifth Circuit in Ackerson v. Bean Dredging, 589 F.3d 196 (5" Cir. 2009), found that
a with-prejudice dismissal based on the above immunity was appropriate under Rule 12(b)(6).
JAR is in an equivalent, if not stronger position than was Bean Dredging, as it was merely the
physical means of applying the dispersant that had been chosen by sophisticated response
supervisors, including the Coast Guard as the On-Site Coordinator, to be applied to the floating
oil in order to moderate the effects of the spill on the coastline. That decision is part of the

discretionary authority over an issue of great national interest and cannot be undermined via tort

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suits against persons like IAR. Regardless of whether it is via lack of jurisdiction because of
shared sovereign immunity, or via the substantive defense provided by Yearsley (or conflict
preemption as is discussed later), the result is the same — there should be a dismissal of the
claims against IAR and those like it.

If the decision to use Corexit® to disperse the crude oil residues falls within the
“discretionary function exception” of liability for the federal government under 28 USC. §
2680(a), then IAR, as the mere tool of the government’s discretionary call, cannot, consistent
with the doctrine, be held liable. In particular, it cannot be held liable for any alleged damage or
injury allegedly resulting from the presence of the Corexit® on the water or in the oil.

First, IAR is not alleged to have possessed, much less exercised discretion as to choosing
to employ dispersants generally, and the Corexit® dispersant specifically. If the Coast Guard is
not liable for having made the judgment call,'’ IAR certainly cannot be held to stand in its place
as a sacrificial lamb. The ability to obtain help to execute the Response Plan would be rendered
nugatory. Moreover, the costs of the liability would inevitably make their way back to the U.S.
should contractors like IAR be allowed to be pursued as they are herein. E.g., Dolphen Gardens
v. United States, 243 F.Supp 824, 827 (D. Conn. 1965).

Because the actions of JAR that are the subject of the B3 Bundle Master Complaint were
actions performed pursuant to the authorization, direction and ultimate control of the federal
government, IAR must share in the federal government’s broad immunity for such actions under

the CWA and NCP. See 33 U.S.C. § 1321()(8) (“The United States Government is not liable for

"7 For example, in Payne v. United States, 730 F.2d 1434 (11" Cir. 1984), the court held that redesign and dredging
of the Tombigee River, to the alleged damage of an adjacent landowner, was a discretionary function. Similarly, in
Mocklin v. Orleans Levee District, 690 F.Supp. 527 (E.D. La. 1988), the decision to employ flotation channels was
held to be a discretionary function. The same result occurred in Dolphen Gardens v. United States, 243 F.Supp.
824, $26 (D. Conn. 1965) with respect to fumes that resulted from the decision to employ dredging. The “failure to
take precautions to prevent escape of fumes” was not negligence, but merely an inseparable part of the decision to
employ the dredging modality, the decision to use it being part of the discretionary function. /d. at 826-27.

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any damages arising from its actions or omissions relating to any response plan required by this
section.”). This is absolute immunity.

The concept of derivative immunity for parties acting under the direction and control of
the federal government in the exercise of legitimate federal authority was established over
seventy years ago in Yearsley v. W.A. Ross Construction, 309 U.S. 18 (1940). The purpose of
such derivative immunity is not to protect private parties per se, but “solely as a means of
protecting the government’s discretionary authority over areas of significant federal interest.” Jn
Re Agent Orange Prod. Liab. Litig., 517 F.3d 76, 89-90 (2d Cir. 2008).

In discussing derivative immunity for actions taken by private parties in response to the
9/11 terrorist attacks on the World Trade Center, the United States Court of Appeals for the
Second Circuit held “that the rationale for the government contractor defense would extend to
the disaster relief context due to the unique federal interest in coordinating federal disaster
assistance and streamlining the management of large-scale disaster recovery projects.” /n Re
World Trade Center Disaster Site Litig., 521 F.3d 169, 197 (2d Cir. 2008). Although the Second
Circuit was discussing derivative mmunity under the Robert T. Stafford Disaster Relief and
Emergency Assistance Act, which was invoked in response to the terrorist attacks (just as it was
in response to Hurricane Katrina), the court’s reasoning applies with even greater force in this
case, and to JAR. As the National Commission on the BP Deepwater Horizon Oil Spill and
Offshore Drilling recently explained, the federal government plays a “fundamentally different
role” when responding to an oi] spill disaster under the CWA and NCP than it does when it
responds to a disaster under the Stafford Act: “Instead of a state-run response supplemented

with federal resources and financing, the NCP demands that the federal government direct the

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response through a Federal On-Scene Coordinator.”!® Congress demanded this direct role in
order to avoid problems perceived from the lack of such oversight powers after the Exxon
Valdez spill. Indeed, the NCP “gives the Federal On-Scene Coordinator the power to direct all
response actions.”'° “Thus, while the Stafford Act envisions a state-directed (though in part
federally funded) response, the National Contingency Plan puts federal officials in charge.””? As
a result, the need for derivative immunity for [AR is even more compelling here than it was for
contractors in the 9/11 litigation.

Private entities such as IAR are entitled to derivative federal immunity when they
perform work pursuant to the authorization and direction of the federal government and the acts
of which plaintiffs complain fall within the scope of those government directives. See Yearsley,
309 U.S. at 20-21; In Re World Trade Center, 521 F.3d at 196. In assisting with the clean-up of
the Deepwater Horizon spill, [AR was acting pursuant to the authorization, direction, and
ultimate control of the federal government. See B3 Bundle Master Complaint {| 92 (‘The U.S.
Coast Guard is responsible for ... responding to oil spills and supervising and/or coordinating
response actions.”); Id. § 109 (“The Coast Guard’s Federal On-Scene Coordinator ... must
approve BP’s requests to use chemical dispersants.”); see also supra Statement of Facts, Parts I-
Il. In responding to the Deepwater Horizon spill, the federal government did not simply issue
directions for IAR, and the other responders to follow, but was — making the defense here
stronger than it was in Yearsley — itself present in the Gulf region performing its own lead-

agency role by managing, directing and approving all aspects of the response in real time and

'8 See NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE
DRILLING, Staff Working Paper No. 2, Decision-Making Within the Unified Command, supra note 5, at 17.

'° NATIONAL COMMISSION ON THE BP DEEPWATER HORIZON OIL SPILL AND OFFSHORE
DRILLING, Report to the President: Deep Water — The Gulf Oil Disaster and the Future of Offshore Drilling,
supra note 4, at 138.

Id.

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making decisions regarding how best to conduct the containment and clean-up efforts. This
included, among other things, decisions about the use of dispersants.

The availability of derivative federal immunity in this case is reinforced by Congress’
desire, reflected in the CWA and OPA, to promote effective and efficient responses to oil spills.
In order for the federal government to achieve these dual goals, it is a “given” that private parties
are called upon to implement the directives of the Federal On-Scene Coordinator and/or National
Incident Commander, and they should not have to evaluate whether it is worth the risk of being
subjected to litigation before deciding to faithfully execute such federal directives. Indeed,
denying derivative immunity to entities such as IAR risks underminng the entire federal response
structure set forth in the CWA and NCP. Application of the dispersants was a mandatory and
critical part of the Response that [AR merely helped execute.

Moreover, unlike the federal government’s “discretionary function” immunity under the
Federal Tort Claims Act, 28 U.S.C. § 2680(a), and the Stafford Act, see 42 U.S.C. § 5148, the

CWA provides absolute immunity to the federal government in connection with oil spill

response efforts: “The United States Government is not liable for any damages arising from its
actions or omissions relating to any response plan required by this section.” 33 U.S.C. §
1321(j)(8). Therefore, because the federal government enjoys full immunity for its actions or
omissions relating to its response to the Deepwater Horizon spill, and because its actions
included approving, directing, and ultimately controlling the activities as to which JAR, as
pleaded, was only “hired help” in physically flying one aspect of the response, the dispersant, as

directed, to oil slicks found on the sea by BP operatives, the B3 Bundle Master Complaint should

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be dismissed in its entirety as against IAR and similar defendants because IAR shares
derivatively in the federal government’s absolute immunity under the cwa2
2. Discretionary Function Immunity

Alternatively and/or additionally, the “discretionary function” immunity granted the U.S.
Government under the Federal Tort Claims Act, 28 U.S.C. § 2680(a), also supports derivative
immunity for [AR under the pleaded and judicially noticed facts. The Federal On-Scene
Coordinator was entitled and required to make quick policy decisions that qualified as
discretionary calls under the FTCA. See, e.g, Berkovitz v. United States, 486 U.S. 531, 536
(1988), which are not to be undermined or “second guessed” “through the medium of an action
in tort.” Jd, 486 U.S. at 537-8, quoting United States v. Varig Airlines, 467 U.S. 797, 814
(1984).

The discretionary function immunity filters down to protect persons like JAR who simply
carry out those discretionary decisions. See, e.g, in Re World Trade Center Disaster Site
Litigation, 456 F.Supp.2d 520, 560 (S.D.N.Y. 2006); Trevino v. General Dynamics Corp., 865
F.2d 1474, 1478 (5" Cir. 1989); Gulf Refining Co. v. Mark C. Walker & Son Co., 124 F.2d 420,
425 (6" Cir. 1942).

Derivative discretionary function immunity is available in the emergency-response

context where: (i) that the government approved reasonably precise specifications; (11) that the

?! To the extent that the claims against IAR are not dismissed in their entirety on derivative federal immunity
prounds based on the overwhelming federal direction and control of the response efforts, IAR, like O’Brien’s,
respectfully moves in the alternative for dismissal of applicable claims under 33 U.S.C. § 1321(c)(4) for all claims
that derive from the use of Corexit® as a dispersant by JAR short of a direct personal injury caused by direct
application to a captain or crew while located on the sea. The responder immunity provision contained in 33 U.S.C.
§ 1321(c)(4) was added to the CWA by OPA and generally provides that responders are not ltable for “removal
costs or damages” resulting from “actions taken or omitted to be taken” in responding to oil spills. The Deepwater
Horizon spill was the first oil spill to ever be designated a Spill of National Significance, resulting in unprecedented
involvement of the federal government in authorizing, directing, overseeing, permitting, and controlling the response
results in the availability of additional immunity protection for responders, namely derivative federal immunity
under 33 U.S.C. § 1321G}(8) for all claims against IAR in this case.

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government supervised and controlled the implementation of those specifications; and (iii) that
the contractor was not aware of reasons not known to the government that would make
implementation of the specifications unsafe or unreasonable. In Re World Trade Cenier Disaster
Site Litigation, 456 F Supp.2d at 563; see also Kerstetter v. Pac. Scientific Co., 210 F.3d 431,
435 (5" Cir. 2000). Specifications are reasonably precise if the government exercised discretion
over all significant details and all critical choices. Katrina Canal Breaches Litig. Steering
Comm. V. Washington Group Int'l, Inc., 620 F.3d 455, 461 (5™ 2010).

There can be no dispute that the cleanup actions in the Gulf of Mexico were governed by
the NCP, 33 U.S.C. § 1321{d) and 40 C.F.R. Part 300 Appendix E. (See B(3) Master Complaint
at { 94, 109.) The NCP was prepared by the Federal Government and provides detailed and
comprehensive procedures and standards for the “efficient, coordinated and effective action to
minimize damage from oil and hazardous substance discharges, including containment,
dispersal, and removal of oi! and hazardous substances.” /d IAR had no role in preparing the
NCP. There also can be no doubt that in responding to the Oil Spill, [AR acted, as the mere
applicator, pursuant to the authorization, direction, and ultimate control of the federal
government. (See B3 Bundle Master Complaint 7 92 (“The U.S. Coast Guard is responsible for
... responding to oil spills and supervising and/or coordinating response actions.”.) Accordingly,
IAR has derivative discretionary function immunity under the FTCA, and the claims against IAR
in the B(3) Master Complaint should be dismissed in their entirety.

C. The Claims Asserted Against JAR In the B3 Bundle Master Complaint are
Preempted

Under the Supremacy Clause of the U.S. Constitution, federal law impliedly preempts
claims made under both state law and the general maritime law when such state or maritime law

“conflicts with federal law or its purpose.” Carden v. Gen. Motors Corp., 509 F.3d 227, 230 (5"

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Cir. 2007); Matter of Oswego Barge Corp., 664 F.2d 327, 337-38 (2d Cir. 1981). Such a conflict
exists either “when compliance with both federal and state regulations is a physical
impossibility,” Fidelity Fed. Sav. & Loan Ass’n v. De la Cuesta, 458 U.S. 141, 153 (1982), or
when a plaintiff's claims “stand[] as an obstacle to the accomplishment and execution of the full
purposes and objectives of Congress,” Hines v. Davidowitz, 312 U.S. 52, 67 (1941). Both
circumstances exist tn this case.

First, to the extent that the B3 Bundle Master Complaint alleges that the actions of IAR in
responding to the Deepwater Horizon spill violated state or maritime law, it would have been
physically impossible for IAR to have complied with such laws without violating or undermining
the CWA, OPA, and the National Contingency Plan, which included use of the dispersants at
issue herein. See De la Cuesta, 458 U.S. at 153. As explained above, federal law provides that
the Federal On-Scene Coordinator “shall direct all federal, state, or private actions to remove the
discharge.” 40 C.F.R. § 300.322(b). Thus, federal law, in effect, imposed a duty on IAR to obey
the directives of the Federal On-Scene Coordinator and National Incident Commander. If [AR
had refused to obey such federal directives in order to conform to their purported duties under
state or maritime law, they would have impaired the very response decision-making structure
imposed by Congress and thus violated the CWA, OPA, and the NCP. To accomplish any
response requires someone to execute the decision made by those to whom Congress delegated
the authority. No such persons, if made liable for applying dispersants or other measures that
were decided by those in charge, would ever participate, as it would never be worth the risk.
Nothing could safely be accomplished, even when decided by the On-Scene Coordinator in

complete compliance with the NCP and ARP, thus thwarting the very process Congress desired.

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Second, the claims against IAR in the B3 Bundle Master Complaint “stand[] as an
obstacle to the accomplishment and execution of the full purposes and objectives of Congress” in
promoting an effective and efficient federal response to significant oil spills. Hines, 312 U.S. at
67. The President shall ... ensure effective and immediate removal of a discharge ... of oil[.]”
33 U.S.C. § 1321(c)(1)(A) The whole purpose of the B3 Bundle Master Complaint is to have the
Court or a jury second guess the response activities that were the subject of real-time and on-
scene expert judgments of the Coast Guard and the other federal agencies that authorized,
directed, and controlled the Response, and directly led to the directions given to IAR to apply
Corexit® to oil slicks in responding to the Deepwater Horizon spill. As described in detail
above, the CWA, OPA, and the NCP set forth a comprehensive regime which squarely placed
the responsibility for the clean-up effort upon the federal government. To allow IAR to face
financial obliteration as a result of having merely participated as a contractor to execute response
decisions of those that Congress put in charge will ensure no such further assistance by any
contractor in the future. By second-guessing the federal government’s decisions and careful
balancing of the public interest in responding to the Deepwater Horizon spill, the claims set forth
in the B3 Bundle Master Complaint are clear “obstacles” to the purposes and objectives of the
CWA, OPA, and the NCP, all as a matter of law. Accordingly, such claims should be dismissed
pursuant to the doctrine of implied or conflict preemption.

IV. Alternatively, Certain Claims In the B3 Bundle Master Complaint Fail To State a
Claim

If the Court does not dismiss the B3 Bundle Master Complaint in its entirety on
derivative federal immunity or conflict preemption grounds, several of the claims against IAR
nevertheless must be dismissed for separate and independent reasons. First, the negligence per

se claim fails to satisfy the minimum pleading requirements established in Twombly and Iqbal,

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and is contrary to federal law that preempts all other laws. Second, the nuisance claim fails as a
matter of law because there is no federal common law cause of action for public nuisance,
because the plaintiffs do not have standing to assert this claim under state law, and because it,
too, is preempted as to IAR. Third, the Florida medical monitoring claim is barred by the
general maritime law and is inconsistent with federal law. Fourth, the claim under the Florida
Pollutant Discharge Prevention and Control Act fails because it does not apply to the claims
against [AR under the facts pleaded and is inconsistent with federal law. Fifth, any claims for
economic losses absent physical damage to a proprietary interest must be dismissed under the
economic loss doctrine. Finally, the claim for punitive damages must be dismissed because the
complaint fails to state facts that could plausibly allow recovery against IAR.

A. The Negligence Per Se claim Fails to Satisfy the Minimum Pleading Standards of
Twombly and Jabal

The negligence per se claim in the B3 Bundle Master Complaint fails to satisfy the
minimum pleading requirements as set forth in Twombly and igbal and, therefore, must be
dismissed. See B3 Bundle Master Complaint {§ 237-42. This claim is premised on the
allegation that “Defendants’ (undifferentiated) conduct with regard to the manufacture,
maintenance and/or operation of drilling operations and oil vessels such as the Deepwater
Horizon, the release of hazardous and toxic chemicals into the environment, and the application
of dispersants and other hazardous chemicals is governed by numerous state and federal laws and
permits issued under the authority of these laws.” B3 Bundle Master Complaint 4 238.
However, the B3 Bundle Master Complaint then makes the vague, conclusory, and implausible
allegation as to IAR that “[o]ne or more of Defendants violated these statutory and/or regulatory

standards” and, thus, that “Defendants’ violations of these statutory and/or regulatory standards

constitute negligence per se.” B3 Bundle Master Complaint {[{] 239-40.

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The Complaint cites four statutes or regulations that Defendants are alleged to have
violated: the Clean Water Act Section 311, 33 U.S.C. § 1321, 40 C.F.R. Part 300 Appendix E,
“General Oil Spill Response Requirements,” 30 C.F.R. Part 254, “Oil-Spill Response
Requirements For Facilities Located Seaward Of The Coast Line,” and the Oil Pollution Act, 33
U.S.C. § 2717(b). (Ud. at | 238.) Each of these statutes and regulations contain multiple parts
and sub-parts and run for dozens of pages. But Plaintiffs fail to allege, as is required for a
negligence per se claim, which part or subpart of any statute or regulation allegedly violated
protects a class of persons which is narrower than the general public.

Moreover, none of these statutes or regulations can form the basis of a negligence per se
claim against IAR. As discussed, supra, the Clean Water Act and corresponding regulations, 40
C.F.R. Part 300, do not establish the right to a private cause of action. Thus, neither the CWA
nor the implementing regulations can form the basis for a cause of action for negligence per se.

The Oil Pollution Act also does not establish a private cause of action for claims relating
to oil spill clean-up. Nor does the Oil Pollution Act establish any standards or regulations
relating to spill response. Further, the regulations requiring response plans for off-shore facilities
cited in the Complaint, 30 C.F.R. Part 254, are not on their face not applicable in any way to
IAR. Thus, even if the Oil Pollution Act provided for a private cause of action, it and its
implementing regulations cannot form the basis for a cause of action for negligence per se
against JAR.

Finally, even if these statutes and regulations established some standard governing the
response to the oil spill and gave Plaintiffs a private cause of action, the Complaint does not
identify which Defendants are alleged to have violated which statutory or regulatory standard.

But more importantly, there are no factual allegations that IAR violated any statutory or

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regulatory standards. Indeed, the anticipated and approved Response including dispersant use,
IAR’s narrow role in applying them would fail to state a claim under this ground.

The B3 Bundle Master Complaint does not even attempt to identify which defendants are
alleged to violate which statutory or regulatory standards. But more importantly, there is no
allegation that JAR violated any statutory or regulatory standards.

IAR had nothing to do with selecting Corexit® for use, and the substance was EPA
approved for use as a dispersant of oil in the sea. In short, the B3 Bundle Master Complaint
simply sets forth “labels and conclusions” and a “formulaic recitation” of the elements of a
negligence per se claim. Twombly, 550 U.S. at 555. It does not “nudge” the claim “across the
line from conceivable to plausible.” Jd at 570; see also In Re Southern Scrap Material Co.,
LLC, 541 F.3d 584, 587 (5™ Cir. 2008) (explaining that a complaint must state “enough fact[s] to
raise a reasonable expectation that discovery will reveal evidence of the necessary claims or
elements”) (internal quotation omitted). Therefore, in accordance with Twombly and Iqbal, the
negligence per se claim must be dismissed as against IAR.

B. The Negligence Claim Against IAR Must Fail

The VoO captains and crew, the decontamination crews, vessel captains and cleanup
workers were hired, organized, overseen and directed by BP who, for example, according to
206 of the Master Complaint, “assumed responsibility for the safety and protection of workers
engaged in the VoO program.” To seek to hold IAR hiabie for any alleged damages or injuries
allegedly flowing from the existence of Corexit® on or in the water as negligence (J 221-228)
fails to state a cause of action, particularly given that “BP has taken control and directs all
aspects of the recovery and relief effort to attempt to contain the Oil Spill, prevent oil from

damaging the Gulf of Mexico and the Shoreline, and to clean up the damage caused to date ...

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[and was obligated to] exercise due care in the operation, maintenance, handling, design,
implementation and execution of the relief and recovery measures” (Master Complaint at Tf
220); and

What plaintiffs allege in { 220 is exactly what the Clean Water Act and Oil Pollution Act
are intended to accomplish. Of course, the direct government involvement and oversight is part
of the Congressional intent to have a determined response accomplished, thus preempting via
conflict preemption any causes of action in tort against those helpers like IAR, whose only role
was to execute the discretionary calls of the On-Scene Coordinator in consultation with the
Responsible Party to respond to the Oil Spill to mitigate its effect on the environment using the
modalities, including dispersants.

That dispersants were chosen and the modality of application was sub-sea (not involving
IAR at all), and on-surface (as to which LAR was hired to help, as alleged, as one of several
aircraft used to apply the dispersants to oil slicks located across the far reaches of the Gulf),
resulting in the presence of dispersants in the Gulf and on or in the oil, cannot as a matter of law
be placed at IAR’s doorstep as “negligence” for purposes of personal injury or property damages
claims, much less as “gross negligence” (f] 229-236), “negligence per se” ({ 237-242),
“nuisance” (J 259-271), “battery” ({J 272-277), “strict liability”) (J 289-306 and 307-320), or
“punitive damages” ({] 321-346, particularly with respect to J] 341-343 which are the only ones
referencing “the Dispersant Defendants’).

Under the CWA, a person who is not a responsible party is exempt from liability for
“damages which result from actions taken or omitted to be taken in the course of rendering care,
assistance, or advice ... relating to a discharge or a substantial threat of a discharge of oil or a

hazardous substance ... [unless] the person is grossly negligent or engages in willful

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misconduct.” 33 U.S.C. § 1321(c)(4)(2011). The exemption from liability does not apply “with
respect to personal injury or wrongful death.” fd.

State law in Louisiana, Mississippi and Alabama provides similar qualified immunity for
persons involved in responses to oil spills. The Louisiana Oil Spill Prevention and Response
Act, La. Rev. Stat. § 30:2466 (2011) provides “qualified immunity for response actions.” The
Louisiana Act provides:

Notwithstanding any other provision of law, and except for the responsible
person, no person, including any discharge cleanup organization, that ... renders
care, assistance, or advice in abating, containing, removing, cleaning up, or
otherwise responding to pollution from an unauthorized discharge or threat of
discharge of oil ... is liable for ... damages ... whether under this Chapter or
other laws of this state, resulting from acis or omissions committed in rendering
such care, assistance, or advice. This Section shall not apply to actions for
personal injury or wrongful death or for acts or omissions of gross negligence or
willful misconduct.

The Mississippi Liability Of Persons Responding To Oil Spills Act, Miss. Code Ann. §
49-18-5 (2011), provides standards for “liability of persons for oi] spill response consistent with
National Contingency Plan or on-scene directions.” The Mississippi Act provides,

(1) Notwithstanding any other provision of law, a person is not liable for

removal costs or damages which result from actions taken or omitted to be taken

in the course of rendering care, assistance or advice consistent with the National

Contingency Plan or as otherwise directed by the federal on-scene coordinator or

by the state official with responsibility for oil spill response.

(2) Subsection (1) does not apply: (a) To a responsible party; (b) To personal

injury or wrongful death; or (c) If the person is grossly negligent or engages in

willful misconduct. .

The Alabama Act Regarding Liability for Persons Responding to Oil Spills, Ala. Stat. §
6-5-332.2(c)(2010), governing persons involved in responses to Oil Spills, is worded identically

to the Mississippi Act.

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State law in Florida and Texas also provides qualified responder immunity, but extends
such immunity to claims for personal injury. The Florida Pollutant Discharge Prevention and
Removal Act, Fla. Stat. § 376.09(5)(2010), provides that:

[A]ny person who is authorized by the department or the Federal Government or

the person alleged to be responsible for the discharge, or by a designee thereof, to

render assistance in containing or removing pollutants shall not be liable for costs,

expenses, and damages, unless such costs, expenses, and damages are a proximate

result of acts or omissions caused by gross negligence or willful misconduct of

such authorized person.

The Texas Oil Spill Prevention and Response Act of 1991, Tex. Nat. Res. Code Ann. §
40.104(b) provides that:

No person or discharge cleanup organization that voluntarily, or pursuant to the

national contingency plan, or pursuant to any discharge response plan required

under this chapter, or pursuant to the request of an unauthorized federal or state

official, or pursuant to the request of the responsible person, renders assistance or

advice in abating, containing, or removing pollution from an unauthorized

discharge of oil is liable for response costs, damages, or civil penalties resulting

from acts or omissions committed in rendering such assistance or advice, except

for acts or omissions of gross negligence or willful misconduct.

While the Mississippi, Alabama, Texas and Florida statutes have not been construed in
any court in the Fifth or Eleventh Circuits, this Court analyzed the Louisiana statute in the
context of a remand motion. In Caillouet Land Corp. v. Chevron Pipe Line Co., No. 06-40533,
2007 U.S. Dist. LEXIS 48364, at *6-8 (E.D. La. Jul. 3, 2007), plaintiff's petition did not assert
any allegations of gross negligence, willful misconduct, or personal injury against the defendant
clean-up contractors. Instead, the only claims asserted were claims of general negligence for
property damage and for trespass. The court found that, even if proven true, these allegations

were insufficient to overcome the immunity granted by law. /d. at *8. Thus, the court held that

claims of “negligence and trespass against the clean-up contractors [were] not actionable in light

of the provisions of La. Rev. Stat. § 30:2466.” fd. at *10.

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In the present case, the United States Coast Guard has already named BP and Transocean
as the responsible parties. (B(3) Master Complaint ff 26, 51, 313.) Plaintiffs do not aver that
JAR is a responsible party. Instead, plaintiffs admit that IAR is a mere contractor who helped
apply dispersants to on-sea oil slicks as part of the Response Effort directed by the Responsible
Party and the government. Because IAR was only an executor of response decisions, not a
responsible party, and not a person causing the discharge or discharging pollutants, the plain
wording of the Texas and Florida statutes makes IAR immune from liability for all damages
caused by negligence, which should be held to be the case under maritime law as well.
Therefore, even if the Court accepts all of plaintiffs’ pleaded facts as true, and views them in a
light most favorable to plaintiffs, plaintiffs’ negligence do not raise a claim of entitlement to
relief against IAR for any Texas or Florida Plaintiff. Further, as stated below, there are no
factual allegations in the B(3) Complaint that support a claim that IAR was grossly negligent or
committed willful misconduct as to use of Corexit® in the response, as IAR did not make the
decision to use it, and it was an EPA and Coast-Guard approved dispersal agent for oil spill
response on the seas. Accordingly, because plaintiffs fail to state a claim upon which relief can
be granted, the B(3) Master Complaint should be dismissed as to all Texas and Florida plaintiffs
pursuant to Rule 12(b)(6).

Further, under the plain wording of the Federal statute and the Louisiana, Mississippi and
Alabama oil spill response statutes, IAR is immune from liability for negligence causing
damages other than personal injury. Accordingly, because there are no factual allegations
supporting a claim of gross negligence or willful misconduct against JAR, as discussed below,
any B(3} Master Complaint claims for property damage or economic losses also should be

dismissed. And the general use of Corexit® or its presence in the matters should be held to not

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state a claim for negligence against LAR, period. [AR cannot, as a matter of law, be negligent for
applying Corexit® to spilled oil consistent with the National Contingency Plan, which
anticipated and approved in advance the use of the dispersant for oil spills in the Gulf. Nor can it
be held to a duty to warn responders who were part of the response organized and overseen by
the very governmental entities who decided to use Corexit® with full knowledge of its properties
and risks.

Cc. The Nuisance Claim Fails

IAR, in simply assisting the execution of one of the many response measures determined
by those in charge, 1s not subject to liability for “nuisance.”

Plaintiffs proceed under maritime law here, which does not recognize this cause of
action. In addition, there is no federal common law cause of action for public nuisance. See
Marquez-Colon v. Reagan, 668 F.2d 611, 614 n.2 (1 Cir. 1981) (noting that the Supreme Court
held in Milwaukee y. Illinois, 451 U.S. 304 (1981) and Sea Middlesex County Sewerage
Authority v. National Sea Clammers Ass'n, 453 U.S. 1, 22 (1981) “that the federal common law
of nuisance for interstate and coastal water pollution has been entirely preempted by [the Federal
Water Polluntion Control Act]”); Sekco Energy, Inc. v. M/V MARGARET CHOUEST, 820
F.Supp. 1008, 1014 (E.D. La. 1993) (recognizing that federal common law does not recognize a
cause of action for public nuisance in a water pollution case). Therefore, to the extent the
nuisance claim is premised on federal! law, it must be dismissed.

But even if the Court looks to state law, the nuisance claim still fails. A private litigant
cannot recover for a public nuisance under state law unless he or she can show a “special injury
different in kind from that suffered by the general public.” Jn Re Exxon Valdez, 1997 A.M.C.

940 (9" Cir. 1997); see also Benefield v. Int'l Paper Co., No. 2:09cv232-WHA, 2009 WL

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2601425, at *3 (M.D. Ala. Aug. 21, 2009) (“In order for an individual to maintain an action to
enjoin a public nuisance, the individual must have sustained a ‘special injury’ which is different
in degree and kind from the injury suffered by the public at large.”) (citations omitted);
Cunningham v. Anchor Hocking Corp., 558 So.2d 93, 97 (Fla. Dist. Ct. App. 1990) (“[WJhen a
party ‘has suffered no “particular damage” in the exercise of a right common to the general
public, ... it lacks standing to sue for public nutsance.’”) (citation omitted) (emphasis in
original); Robinson v. Indianola Mun. Separate Sch. Dist., 467 So.2d 911, 918 (Miss. 1985) (to
enjoin a public nuisance plaintiff must have sustained different kind of harm than that suffered
by the general public); Jamail v. Stoneledge Condominium Owners Ass’n, 970 S.W.2d 673, 676
(Tex. Ct. App. 1998) (“special injury” required to maintain public nuisance action).

Here, the B3 Bundle Master Complaint fails to allege facts suggesting that if the alleged
nuisance is not abated, plaintiffs “will suffer a special damage therefrom different from that
which is common to all.” Carbajal v. Vivien Ice Co., 104 So. 715, 716 (La. 1925). Although the
B3 Bundle Master Complaint alleges that plaintiffs have been unable to fish and boat in the Gulf
of Mexico due to the presence of oil and chemical dispersants and that “‘all Plaintiffs are subject
to foul and harmful odors emanating from the crude oil soaked booms and/or the chemical
dispersants,” these are the same type of damages suffered by the general public. See B3 Bundle
Master Complaint §] 262, 265; Restatement (Second) of Torts § 821(c) (1979). Thus, the
nameless plaintiffs on whose behalf the B3 Bundle Master Complaint is purportedly filed lack

standing to bring a public nuisance claim.

D. Battery Claims of VoO Captains and Vessel Plaintiffs Fail to State a Claim
Against JAR

The master complaint, in a wholly conclusory fashion, with not one specific fact scenario

with a particular person, date, place and time, characterizes an across-the-board claim of battery

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against IAR. This claim deserves special discussion in the context of JAR’s Rule 12 motion, as
follows.

As this memorandum has established conclusively, given the particular circumstances
surrounding this catastrophe, and the Congressionally imposed framework to set up pre-event
planning and quick response execution to any spill of national significance like this one, there is
no cause of action arising from the mere use of dispersants against a mere “hired hand” who
helped to execute the decisions to employ dispersants. With one aircraft (] 123), IAR’s only role
was to carry out the orders of those in charge to apply the dispersant.

Plaintiffs may argue that battery is a special cause of action pleaded only on behalf of
VoO captains and crews that does apply to someone like JAR because it involves (once it is
actually alleged) an intentional application of dispersants to and on human beings with the
constructive intent to harm them. Let us look carefully at that proposition.

The “battery” claims appear at {{] 272-277 of the B-3 Bundle Master Complaint. These
paragraphs allege that dispersants were sprayed “in the immediate vicinity of VoO Plaintiffs or
Vessel Plaintiffs,” (| 274) “causing some VoO Plaintiffs to be exposed to harmful chemicals and
tesulted in headaches, rashes, chemical burns, nausea and vomiting.” Jf 275-276. The
complaint does not say that IAR sprayed dispersants directly onto any plaintiffs, and thus seeks
to impose liability on IAR merely because Corexit® was on the waters in which they worked.

The Master Complaint does nor identify a single person, or any particular place, time or
date on which IAR purposefully applied dispersants on any of the VoO or Vessel plaintiffs, as
they define themselves. The suggestion on its face is implausible to begin with. Battery is a

particularized tort — indeed, it is the civil counterpart of a crime. It requires the intent of the

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perpetrator to unlawfully touch the victim in a harmful way. E.g., Garcia v. United States, 776
F.2d 116 (5" Cir. 1985).

Given the Twombly requisites that apply particularly to heightened-threshold torts such as
ones based on intentional acts or requiring scienter, the Master Complaint fails to state a cause of
action against IAR. {] 272-277 are merely a conclusory characterization as a “battery” that
dispersants were used at all in the Response — which IAR has established above to fail to state a
legally cognizable ground upon which to impose liability on IAR given its non-decisional and
limited role here, contrasted with the decisional roles of Congress via the Coast Guard, EPA, and
of BP, with regard to choice and direction as to the Response modalities.

In particular, there ts no allegation that IAR purposefully and directly sprayed dispersant
onto the body of any of the VoO or Vessel Plaintiff crews. If this occurred, then only a case-
specific pleading of facts would suffice to state a cause of action against JAR for battery. This
tort especially cannot be generalized into some sort of “group liability.” Indeed, there must be
allegations and proof that a particular defendant particularly caused a particular plaintiff's
injury on a particular day. Great Lakes Dredge and Dock Co. v. Louisiana, 624 F.3d 201, 214-
215 (5" Cir. 2008); Donaghey v. Ocean Drilling of Exploration Co., 974 So.2d 646, 649 (5"" Cir.
1992); see also, Jefferson v. Lead Industries Association, Inc., 106 F.3d 1245, 1247 os Cir.
1997) (the LPLA rule being the same in this respect as general maritime law, as Judge Duvall
held in his 6/12/08 decision, Doc. No. 193, p. 16, in 06-08676, citing the In Re Fibreboard
Corp., 893 F.2d 706, 710-11 (5™ Cir. 1990) rejection of group liability and the need for
individual fault and causation determination; Thompson v. Johns-Manville Sales Corp., 714 F.2d

581, 583 (5 Cir. 1983).

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The only way a battery claim could be pleaded against IAR, is for a particular plaintiff to
State the specific location, time, date and circumstances, something the Master Complaint does
not attempt to do, and until it does, the Complaint fails to state a claim for battery, and that
“cause of action” should be dismissed as to IAR.

E. The Florida Medical Monitoring Claim Is Barred By the General Maritime Law

Aside from the immunity outlined above, and the uniform nature of maritime law, which
applies to prohibit reliance on Florida law here, the B3 Bundle Master Complaint attempts to
assert a cause of action under Florida’s law of medical monitoring on behalf of “Florida
Plaintiffs.” This claim must be dismissed also because the general maritime law otherwise
governs under these circumstances and Florida medical monitoring law cannot be used to “fill in
the gaps” of maritime law in light of the fact that different states’ medical monitoring law is far
from uniform. Plaintiffs pick the most liberal state medical monitoring law (from Florida) and
seek to cram it down IAR’s throat even though IAR’s operations, as alleged, were conducted
over the seas pursuant to the Congressionally outlined National Response. Plaintiffs plead no
facts to suggest IAR had any contact with or operated in Florida, or how it could supplant
maritime law.

Louisiana and Mississippi law are similar to federal common law in rejecting medical
monitoring claims as are broadly asserted in the B-3 Bundle Master Complaint. In Metro-North
Commuter Railroad Co. v. Buckley, 521 U.S. 424, 117 S.Ct. 2113 (1997), the Supreme Court, in
FELA, which incorporates much federal common law (117 S.Ct. at 2117) held that the mere
exposure to a toxic substance (there, asbestos) that might cause a disease at a later time, did not
give rise to a cause of action for either mental distress or for the cost of medical monitoring.

Federal common law simply excludes certain categories of claims for valid policy reasons, so

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that the mere exposure is insufficient. The claimant must suffer from a disease caused by the
exposure. For the same reason, the court held that absent an actual disease process occurring that
creates a recognized and specific need for extra monitoring beyond that otherwise helpful. See
521 ULS. at 440-444, 117 S.Ct. at 2122-2124; Seaman v. Seacor Marine, L.L.C., Fed. Appx. 721,
730-31 5" Cir. 2009). See also, e.g., Landry v. Avondale Indus., inc., 864 So.2d 117, 123 n.2
(La. 2003); Paz v. Brush Engineered Materials, Inc., 949 So.2d 1 (Miss 2007), Norwood v.
Raytheon Co., 414 F.Supp 659 (W.D. TX 2006) (Texas law).

Here, the B3 Bundle Master Complaint seeks to invoke Florida’s medical monitoring
law, which permits relief even when a plaintiff has yet to develop any identifiable physical
injuries or symptoms. See Petito v. A.H. Robins, 750 So.2d 103 (Fla. Dist. Ct. App. 1999). This
approach to medical monitoring is an outlier and is inappropriate for inclusion into maritime law
for the reasons stated in Metro-North and the Louisiana, Mississippi and Texas cases cited
above.

An application of Florida law in this case would impair the uniformity and simplicity
favored by the general maritime law and produce precisely the sort of discord “Jensen sought to
avoid.” Rogers v. Coastal Towing, LLC, 723 F.Supp. 2d 929, 936 (E.D. La. 2010), citing S.
Pacific Co. v. Jensen, 244 U.S. 205, 216 (1917). Accordingly, because using Florida state law
on medical monitoring to supplement the general maritime law would undermine the “strong
federal maritime policy favoring national uniformity,” Augman v. Seacor Marine L.L.C., No. 07-
1508, 2007 WL 2726064 (E.D. La. Sept. 17, 2007), and run afoul of the third limitation
articulated in Jensen. The Florida medical monitoring claim in the B3 Bundle Master Complaint

should be dismissed as failing to state a cause of action.

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F. Florida Pollutant Discharge Prevention and Control Act Claim Fails As a Matter
of Law

For the same reasons stated in the proceeding section, a Florida pollutant law cannot be
used to impose hability on JAR under the situation as pleaded. There is no statement of a claim
against [AR to which a Florida law on poilution would apply to [AR’s alleged actions over the
high seas, none of which took place in Florida. Twombly commands its dismissal as to JAR.

In addition, no facts pleaded plausibly allow a conclusion that IAR’s application of
Corexit® as alleged, constitutes “pollution” or that [AR was a “Responsible Party” under the
Flonda statute cited. See Fla. Stat. § 376.031(16) and § 376.205. Indeed, the pollution was only
the crude oil, which the complaint does not and cannot blame [AR for. Moreover, the
application of Corexit® being ordered by those in charge was for the purpose of reducing the
pollution to Florida beaches and waters.

Finally, the Florida statute does not apply to personal injuries (§ 376.031(5)), nor does it
properly apply in lieu of or as part of maritime law.

G. Any Claims For Economic Losses Absent Physical Damage to a Proprietary
Interest Must Be Dismissed

Although the failure of the B3 Bundle Master Complaint to identify any single plaintiff
on whose behalf it is filed makes it difficult — if not impossible — to determine whether it
contains claims for economic losses absent physical damage to a proprietary interest, in an
abundance of caution [AR hereby moves for dismissal of any such claims under the rule
announced in Rebins Dry Dock & Repair Co. v. Flint, 275 U.S. 303 (1927). See In Re Taira
Lynn Marine Ltd. No. 5, LLC, 444 F.3d 371, 377 (5" Cir. 2006) (“It is unmistakable that the law
of this circuit does not allow recovery of purely economic claims absent physical injury to a

proprietary interest in a maritime negligence suit.”); Louisiana ex rel. Guste v. M/V TESTBANK,

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752 F.2d 1019, 1031-32 (5™ Cir. 1985) (en banc) (affirming summary judgment in favor of
defendants pursuant to Robins Dry Dock where boat operators, seafood enterprises, tackle and
bait shops, and recreational fisherman brought general maritime law claims seeking purely
economic damages resulting from chemical spill).

Even if the plaintiffs’ claims are found to be governed by state law, the same rule applies
under Louisiana, Mississippi, Alabama, Florida, and Texas law. For example, Louisiana state
law generally prohibits the recovery of purely economic damages without accompanying
physical damage to a proprietary interest. See TS & C Investments, L.L.C. v. Beusa Energy, Inc.,
637 F.Supp. 2d 370, 380-81 (W.D. La. 2009); PPG Indus., Inc. v. Bean Dredging, 447 So.2d
1058, 1062 (La. 1984); Louisiana Crawfish Producers Ass'n-West v. Amerada Hess Corp., 935
So.2d 380, 385 (La. Ct. App. 2006). Likewise, Mississippi, Alabama, Florida and Texas do not
allow recovery in tort for economic loss absent personal injury or physical damage to a
proprietary interest. See, e.g, East Miss. Elec. Power Ass'n v. Porcelain Prods. Co., 729
F.Supp. 512, 515 (S.D. Miss. 1990) (finding it “unlikely that the Mississippi Supreme Court
would decide to join the ‘steadily dwindling minority of jurisdictions that permit tort-based
actions for economic loss’”’) (citation omitted); Vesta Fire Ins. Co. v. Milam & Co. Const., Inc.,
901 So.2d 84, 106-07 (Ala. 2004) (explaining economic loss rule bars tort recovery where
product does not cause personal injury or property damage); Florida Power & Light Co. v.
Westinghouse Electric Co., 510 So.2d 899, 902 (Fla. 1987) (holding plaintiff could not recover
in tort for “economic loss without an accompanying physical injury or property damage”); Pugh
v. Gen. Terrazzo Supplies, Inc., 243 8.W.3d 84, 91 (Tex. Ct. App. 2007) (noting economic loss

doctrine bars tort claims seeking economic losses where the plaintiff does not allege personal

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injury or property damage). Accordingly, any claims for economic losses absent physical
damage to a proprietary interest must be dismissed.

H. The Master Complaint Fails to State A Claim Against JAR For Punitive Damages

The complaint alleges punitive damages are due for IAR’s participation tn dispersant
application using one aircraft over the open sea. The complaint asserts maritime jurisdiction
because the alleged activities of IAR took place on navigable waters and allegedly injured
crewmen located on vessels plying the navigable waters as part of the response efforts. See, e.g.,
Jerome B. Grubart v. Great Lakes Dredge and Dock Co., 513 U.S. 527, 534, 115 S.Ct. 1043
(1995); Ruby v. Sisson, 497 U.S. 358, 363, 110 S.Ct. 2892 (1990). Any and all of the alleged
application of Corexit® took place on the open seas.

As such, under plaintiff's own allegations, maritime law controls the issue of punitive
damages under the complaint as pleaded. Plaintiffs will likely suggest that the Supreme Court’s
allowance of punitive damages in Atlantic Sounding Co. v. Townsend, 129 §.Ct. 2561 (2009) for
outrageous, wanton and willful refusal to provide maintenance and cure allows them to recover
here against IAR in a context far beyond the context of maintenance and cure. Given the policies
behind the Clear Water Act generally, in combination with the rule of Miles v. Apex Corp., 498
U.S. 19 (1990) with respect to enforcing Congressional policies from encroachment or
nullification by maritime law, no punitive damages ought to be allowed generally, in the context
of this Bundle. Assuming for argument’s sake that plaintiffs are correct as to a general
availability of punitive damages, and the OPA, Clean Water Act and other cleanup-related
Congressional schemes do not preclude punitive damages against helpers like IAR, then the best
case scenario for the plaintiffs in judging this 12(b)(6) is whether they properly and persuasively

allege IAR to be guilty of “lawless misconduct,” or “wanton, willful or outrageous conduct.”

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See Atlantic Sounding Co., Inc. v. Townsend, 129 S.Ct. 2561, 2566-67, 174 L.Ed. 382 (2009).”
But the pleaded and undeniable context of the Corexit® application following its approval and
selection by those in charge of the Response, and not LAR, does not allow recognition here of a
cause of action for punitive damages against JAR.

JAR reurges here the arguments made above as to the battery claims, because the factual
context of this punitive damages claim remains the same. Under the requirements of Twombly,
550 U.S. at 555, 570 and Jqbal, 129 S.Ct. at 1949 that sufficient facts be pleaded to set forth a
facially “plausible” claim, especially where there is a heightened threshold standard for liability,
the Master Complaint utterly fails to state a claim for punitive damages against [AR — the
operator of one application aircraft for and through the instructions of BP, all under and pursuant
to the oversight of the Federal On-Site Coordinator via OPA.

While waxing eloquently and persuasively in J 321-340 about the drilling operator’s
horrible decisions that led to the blowout and huge oil spill and necessary response as rendering
them liable for punitive damages, plaintiffs then engage in a Twombiy-precluded slight of hand
in {| 341-42 by suddenly, and only then, “throwing in” the “Dispersant Defendants” along with
BP as having been “reckless, willful and/or wanton” in “the operation and use of chemical
dispersants.” This manner of conclusory pleading wholly fails to state a claim for punitive
damages against IAR, even if punitive damages are generally available in maritime law for
outrageous misconduct.

Mere conclusory recitation of adjectives like.““willful, wanton or reckless disregard” (4

159, 162, 163) in IAR’s application of Corexit® as a dispersant chosen by those to whom

*? However, to the extent the plaintiffs are Jones Act seamen, the limitations of the Jones Act would apply. See, e.g.,
Miles v. Apex Marine Corps, 498 U.S. 19, 36, 11 S.Ct. 317 (1990); Scarborough v. Clemco Industries, Inc., 391
F.3d 660 (5" Cir. 2004). See also the maritime law restriction of emotional distress recovery discussed in Gough v.
Natural Gas Pipeline Co. of America, 996 F.2d 763, 765 5” Cir. 1993).

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Congress entrusted the decision-making and oversight is exactly what Twombly and Iqbal
disapprove of. Under the known scenario at hand, which includes direct Federal oversight
pursuant to an approved plan involving use of Corexit®, these bald conclusions are rendered
implausible by other allegations contained within the same Master Complaint, and those
contextual facts which are properly the subject of judicial notice.

As the Master Complaint states at § 92 “The U.S. Coast Guard is responsible for
implementing many aspects of the OPA, including responding to oil spills and supervising and/or
coordinating response actions.” At { 94, plaintiffs allege that “BP began implementing a disaster
response plan ... to disperse oi] in the water using Nasco’s chemical dispersants.”

At ¥ 109, plaintiffs state:

“Generally, the United States Oil Spill National Contingency Plan permits

spraying of chemical dispersants at least 3 miles offshore or where the water is at

least 10 meters deep. The Coast Guard’s Federal On Site Coordinator (the “On

Site Coordinator’) must approve B.P.’s requests to use chemical dispersants.”

At 4 113-117, plaintiffs allege that BP and the EPA addressed permissions or
adjustments as to use of Corexit®, thus showing that IAR had nothing to do with the decisions
and that the government was in fact directly involved.

At J 132, plaintiffs allege that the Vessels of Opportunity radio in to BP coordinates of

oil slicks, and BP

“dispatches a spray plane from an airfield to the coordinates given [for an oil slick
spotted] and instructs the pilot to spray the chemical dispersant from its cargo
hold.”

At 7 95, plaintiffs allege that

“BP coordinates and directs aircraft owned or operated by ... IAR ... that fly out
over the Gulf to spot oil slicks and to spray chemical dispersants to oil on the
surface of the Gulf.”

At J 123, plaintiffs allege

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“TAR owns and operates at least one spray plane used in connection with B.P. 's
aerial spraying of chemical dispersants.” (4 123, Emphasis supplied.)

Nowhere in the Master Complaint is there any allegation of fact that IAR participated at
all in selecting the dispersant, or had anything to do with organizing or coordinating the
response, much less in giving advice as to whether Corexit® should be used. Indeed, the
opposité is alleged, including the direct oversight of BP and the government. No allegation is or
could be made that the Coast Guard On-Scene Coordinator and BP, who plaintiffs correctly aver
were making all the response decisions, were not aware of the MSDS-supplied information on
Corexit®, including its properties and effects on humans, or not fully aware of all aspects of the
response, unlike [AR who only flew one plane to apply dispersants as directed. No allegations
are made that [AR participated in the BP/Coast Guard/EPA approvals or discussions or was
aware of any disapprovals of the government, or had any reason to think that the decision makers
were not aware of the constituent chemicals of Corexit® and of all of the information from the
MSDS for Corexit® that plaintiffs quote at 110-112, or that information reflected inf] 146-
158. To the contrary, plaintiffs allege that those in control Aad this information, so IAR had no
plausible duty or acted in a way that could possibly satisfy the high standard for punitive
damages set in Atlantic.

Thus, on the face of the complaint, then, the punitive damages claims against IAR are
implausible. LAR should not be faced with financial annihilation based on this complaint, under
these circumstances. Plaintiffs wholly fail to state a claim given the high threshold standard in
maritime law for punitive damages, and the claim for such against [AR should be dismissed.
TAR, as a mere contractor hired to fly one aircraft for one small part of a huge and multi-lateral
response effort designed, determined, coordinated and implemented by BP and the Coast Guard,

cannot be held liable for punitive damages for being hired to do what the response designers

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decided was needed. This is what the complaint claims and it is fatally defective. The punitive
damages claims against IAR are a non-starter and must be dismissed.

Vv. 12(b)(6) Failure to State a Claim By Any Plaintiffs Who Presented Claims Covered
By OPA

Given the generality of the Master Complaint, [AR moves to dismiss the claims
contained therein and filed or suggested against IAR by persons seeking any type of property
damage for which they have sought or are entitled to seek recovery under OPA, 33 U.S.C. §
2702 against the responsible parties. Doc. No. 1128 filed on February 9, 2011 in No. 10-2771
(the limitation action), at e.g., {] 678-690 and other individual actions unknown to mover, assert
such claims on behalf of Alabama, Florida, Mississippi, Louisiana and Texas subclasses, and
seeking punitive damages as well. At { 89, plaintiffs alleged that 200 million gallons of crude
oil were released into the Gulf by the disaster, none of which was due to any actions of JAR.
Plaintiffs recently pleaded in the limitation answer (Doc. No. 1128 in No. 10-02179) at { 489,
specific references that speak to BP’s use of dispersants” as part of the spill. As in the instant
Master Complaint, plaintiffs therein also allege at [510 that “BP recognized and/or voluntarily
assumed responsibility for the safety and protection of the workers engaged in the VoO
program.” Obviously, IAR had no role in organizing, directing or coordinating the various
segments of the response and thus no responsibility with respect to how the segments interacted
vis-a-vis the presence of crude oil, and the dispersants on the water that those in charge decided
should be there.

33 U.S.C. § 2715(a) specifically provides that those who make a claim and recover under
OPA, the responsible party becomes subrogated to “all” causes of action “that the claimant has
under any other law.” OPA then does not authorize plaintiffs to simultaneously sue under the

strict liability regime of OPA against the responsible parties, and a/so pursue third parties like

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IAR for alleged spill response damages. Plaintiffs pursue the “Responsible Parties,” of which
BP is the clearest of all, and who has waived any limits of liability. See, Doc. No. 559. Such
claims against IAR for any oil related damages, including property damages, to the extent
contained in the Master Complaint, fail to state a claim under Rule 12(b)(6).

OPA’s above provisions in this respect would preempt general maritime law. South Port
Marine, LLC v. Gulf Oil Ltd. Partnership, 234 F.3d 58, 65 (1* Cir. 2000); Gabarick v. Laurin
Maririme (America), inc., 623 F.Supp.2d 741, 746 (E.D. La. 2009); See also, Conf. Rep. 101-
653, 101st Congress, 2d Sess. 1990 (Conf. Report), 1990 U.S.C.C.A.N. 746-47, 779, 802.

As Judge Lamelle ruled in Gabarick v. Laurin Maritime (America), Inc., 623 F.Supp. 2d
741, 750 (E.D. La. 2009) damages covered by OPA must be pursued only against the responsible
party, which plaintiffs are in fact doing.

VI.‘ The Attorney’s Fees Claims Must Be Struck

Plaintiffs throw in a claim for attorney’s fees in the prayer for relief on page 73 at subpart
7. This Court operates here under the “American Rule,” where attorney’s fees are not
recoverable by the plaintiff. See, e.g, Alyeska Pipeline Service Co. v. Wilderness Society, 421
USS. 240, 247, 95 S.Ct. 1612, 1616 (1975); Galveston County Nav. Distr. V. Hopson Towing Co.,
92 F.3d 353, 356 (5" Cir. 1996); Texas A&M Research Foundation, 338 F.3d 394, 406 (5" Cir.
2003).

The attorney’s fee demand is not backed by the pleading of a cognizable basis, and

should be dismissed.

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Conclusion

All the claims against IAR in the B-3 Bundle Master Complaint should be dismissed on
the basis of shared or derivative immunity and conflict preemption. IAR can have no liability
imposed on it for having merely assisted in carrying out response decisions made or approved by
the Coast Guard and/or pursuant to the National Contingency Plan. In particular, it can have no
liability arising from the presence of Corexit® in the Gulf waters or on the spilled oil.

Alternatively and additionally, each of the claims (“causes of action”) against IAR should
be individually dismissed pursuant to Rule 12(b)(6). The negligence, nuisance and Florida
statute claims should be dismissed as failing to state a cause of action under the pleaded
circumstances. The battery, gross negligence and punitive damages claims do not state a claim
against IAR under the Twombly standards, given the content of the Master Complaint and the
context of the aerial application of Corexit® pursuant to the approved National Contingency
Plan, Area Response Plan and federal government oversight of the On-Scene Coordinator. IAR,
simply stated, cannot be guilty of gross negligence or wanton and willful misconduct by
engaging in aerial application of EPA approved and dispersants that the CWA expressly lists as

being part of the response plan, all under the pleaded emergency circumstances, where all

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decisions as to the authority to use Corexit® and its appropriateness for use were made by others
to whom that decision was delegated by Congress in the manner set forth above.
Finally, no basis for the claim for attorney’s fees has been stated.

Respectfully, submitted,

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CERTIFICATE OF SERVICE

The undersigned certifies that on ino aay of , 2011 the foregoing

pleading was electronically filed with the Clerk of Court by using the CM/ECF system pursuant

to the rules and procedures of the United States District Court for the Eastern District of

Louisiana and served in accordance therewith to all counsel of recgfd.

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